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      # 167439556   E-Filed 02/23/2023 04:15:46 PM


                                                              IN THE CIRCUIT COURT OF THE 15TH
                                                              JUDICIAL CIRCUIT IN AND FOR PALM
                                                              BEACH COUNTY, FLORIDA
        KWAMAIN ONEAL,
                                                              CASE NO.: 2022CA009847
        Plaintiff,

        v.

        CITY OF RIVIERA BEACH AND
        JOHN VANDERLAAN,

        Defendant.
        ________________________________/

                                         NOTICE OF APPEARANCE

               YOU ARE HEREBY NOTIFIED that undersigned counsel files this notice of appearance
        as counsel for Defendant, CITY OF RIVIERA BEACH, in the above styled matter. Undersigned
        counsel designates the following electronic mail addresses for service of court documents:

                Primary email:                 JINachio@mdwcg.com ; ACNash@mdwcg.com
                Secondary email:              OODelgado@mdwcg.com ; JLHarris@mdwcg.com

                                         CERTIFICATE OF SERVICE

         IT IS HEREBY CERTIFIED that a true and correct copy of the foregoing has been provided via
         Florida’s e-filing portal and/or electronic mail on February 23, 2023, to: Zedrick Barber, II, Esq.
         at The Barber Firm, LLC 4440 PGA Blvd. Suite 600, Palm Beach Gardens, FL 33410
         [zedrick@thebarberfirm.us; zedrickbarberii@gmail.com].

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                                                     By: /s/ Joanne I. Nachio, Esq.
                                                          Joanne I. Nachio, Esq.
                                                          Florida Bar Number 113040
